         IN THE UNITED STATES DISTRICT COURT FOR                        
             THE MIDDLE DISTRICT OF ALABAMA                             
                     SOUTHERN DIVISION                                  

ENTERPRISE CITY BOARD OF         )                                        
EDUCATION,                       )                                        
                               )                                        
        Plaintiff,             )                                        
                               )                                        
   v.                          )     C   a s e No. 1:19-cv-748-ALB      
                               )                                        
S.S. and J.S., individually and as  )                                     
parents, legal guardians, next friends,  )                                
and representatives of S.S., a minor,  )                                  
                               )                                        
        Defendants.            )                                        
            MEMORANDUM OPINION AND ORDER                                
   This matter comes before the Court on Plaintiff Enterprise City Board of 
Education’s Motion for Reconsideration, (Doc. 18), and Defendants S.S. and J.S.’s 
Motion  to  Strike  Conditional  Affidavit  of  Joylee  Cain,  (Doc.  21).  Upon 
consideration, the Board’s motion is DENIED, and the parents’ motion is DENIED 
as moot.                                                                  
                       BACKGROUND                                       
   This case is an appeal from the determination of an Alabama State Board of 
Education hearing officer under the Individuals with Disabilities Education Act 
(IDEA). That hearing officer found that federal law required the Board to take 
certain actions for the benefit of a disabled child, S.S.. The parties filed cross-
motions addressed to the issue of whether the Board should comply with the hearing 
officer’s order during the pendency of this appeal.                       

   The Court denied the Board’s motion to stay and granted S.S.’s motion to 
compel.  See  Doc.  17.  The  Court  did  so  because  the  state  hearing  officer  had 
expressly ordered the Board to comply “immediately” and because Alabama Code 

§41-22-20(c) expressly provides that the filing of a notice of appeal does not stay a 
state agency’s action. See Doc. 17. To that end, the Court ordered the Board to 
complete and implement the following findings by January 1, 2020, (Doc. 14): 
  Finding 4: “That the LEA is directed to provide mileage reimbursement to 

   Petitioner’s parents for the mileage incurred at the U.S. Federal mileage 
   rate[;]”                                                             
  Finding 6: “That the LEA is directed to provide S.S. with a BIP [Behavior 

   Intervention  Plan],  and  a  BCBA  [Board  Certified  Behavior  Analyst], 
   immediately, to work with his team to address these concerns;”       
  Finding 7: “That the LEA is directed to provide S.S. a one-on-one Behavioral 

   Aide and a counselor, immediately . . . .” (Doc. 6-1 at 37).         
   After the Court issued its order, the Board asked for reconsideration. (Doc. 
18).                                                                      
                        DISCUSSION                                      
   The Board’s motion to reconsider the Court’s previous ruling is due to be 

denied. Because of the exigent circumstances surrounding the minor child at the 
center of this case, the Court did not write a memorandum opinion in relation to its 
initial order. Accordingly, the Court will use this opportunity to do so now.  

   A. The  IDEA  requires  the  Board  to  implement  the  hearing  officer’s 
     decision pending this appeal.                                      

   The Board’s position that the hearing officer’s order should be stayed pending 
appeal is inconsistent with plain text of the IDEA, 20 U.S.C. §§1400 et seq.. The 
IDEA includes a “stay put” provision governing the placement of a child during an 
appeal. Escambia Cty Bd. of Educ. v. Benton, 358 F. Supp. 2d 1112, 1122 (S.D. Ala. 
2005). Under this provision, “during the pendency of any proceedings conducted 
pursuant to this section, unless the State or local educational agency and the parents 
otherwise agree, the child shall remain in the then-current educational placement of 
the child ….” 20 U.S.C. §1415(j) (emphasis added). The U.S. Secretary of Education 

has required that this provision be applied as follows: “If the decision of a hearing 
officer in a due process hearing conducted by the SEA or a State review official in 
an administrative appeal agrees with the child’s parents that a change of placement 

is appropriate, that placement must be treated as an agreement between the State or 
local agency and the parents for purposes of [§1415(j)].” 34 C.F.R. §300.518; see 
also Ala. Admin. Code §290-8-9-.08(9)(c)(14) (same language). This regulation 
implements a U.S. Supreme Court opinion based on the statute’s plain language. See 
Sch. Comm. of Town of Burlington, Mass. v. Dep’t of Educ. of Mass., 471 U.S. 359, 

372 (1985) (holding that a state administrative appeal board’s “decision in favor of 
the [parents] and the Carroll School placement would seem to constitute agreement 
by the State to the change of placement”).                                

    “‘Educational  placement’,  as  used  in  the  IDEA,  means  educational 
program—not the particular institution where that program is implemented.” White 
ex re. White v. Ascension Parish Sch. Bd., 343 F.3d 373, 379 (5th Cir. 2003); see 
also R.L v. Miami-Dade County School Bd., 757 F.3d 1173, 1190 n.8 (11th Cir. 

2014) (quoting White with approval). As used in the IDEA, the actual setting, or 
physical location, is only one part of “placement.” R.L. v. Miami-Dade Cty Sch. Bd., 
2008 WL 3833414, at *29 (S.D. Fla. Aug. 12, 2008) (“[A] particular school setting 

and location where instruction is given is an aspect of placement.”) (citing White, 
343  F.3d  at  379–80).  A  child’s  “educational  placement”  should  be  viewed 
expansively to include all attributes of a child’s educational program:   
   The educational program of a handicapped child, particularly a severely 
   and profoundly handicapped child such as [the child here], is very   
   different  from  that  of  a  non-handicapped  child.  The  program  may 
   consist largely of “related services,” such as physical, occupational, or 
   speech therapy. The basic constituent elements of the program will be 
   incorporated in the IEP, and the elimination of one of those elements 
   may significantly affect the ability of the child to learn.          
DeLeon  v.  Susquehanna  Cmty.  Sch.  Dist.,  747  F.2d  149,  153  (3d  Cir.  1984). 
Regulations  similarly  reflect  that  a  child’s  educational  placement  encompasses 

“instruction in regular classes, special classes, special schools, home instruction, and 
instruction  in  hospitals  and  institutions,”  as  well  as  “supplementary  services” 
including “resource room or itinerant instruction . . . .” 34 C.F.R. §300.115.  

   Here,  the  state  hearing  officer  agreed  with  the  parents  that  a  change  of 
placement was appropriate. Under the IDEA, the placement is the child’s entire 
educational program, which generally includes the way he gets to school (finding 
four), a BIP and a BCBA (finding six), and a behavioral aide and a counselor (finding 

seven). E.g., DeLeon, 747 F.2d at 154 (“Under some circumstances, transportation 
may have a significant effect on a child's learning experience.”). And under C.F.R. 
§300.518 and the Supreme Court’s precedent, the hearing officer’s ruling is treated 

as an agreement between the parents and the state, exempting the child from the 
“stay put” provision and putting the hearing official’s order into effect pending 
appeal. Accordingly, the plain text of the IDEA and its implementing regulations 
require that the Board implement the state hearing officer’s decision during the 

pendency of this appeal.                                                  
   B. In the alternative, the Board cannot satisfy the prerequisites for a stay 
     pending appeal.                                                    

   The  parties  presented  this  issue  on  cross-motions  for,  effectively, 
interlocutory injunctions. The Court finds that there is no basis to grant the Board an 
injunction against the enforcement of the hearing officer’s ruling and every reason 
to grant such relief to S.S..                                             

   For this Court to grant injunctive relief, the moving party must show: (1) a 
substantial  likelihood  of  success  on  the  merits;  (2)  irreparable  injury  during 
pendency of the suit absent an injunction; (3) the threatened injury to the movant 

outweighs any damage to the opposing party; and (4) the injunction would not be 
adverse to the public interest. Alabama v. U.S. Army Corps of Engineers, 424 F.3d 
1117, 1128 (11th Cir. 2005). The Board cannot establish these elements.   
   Likelihood  of  success:  The  Board’s  appeal  is  not  substantially  likely  to 

succeed. The Board concedes that the child at issue is disabled and needs special 
services. But it argues that the hearing officer “(1) applied the wrong standard; (2) 
improperly construed the IDEA to require involving a BCBA and BIP; (3) erred in 

finding that the Board violated IDEA procedures; and erred in framing the issue on 
the topic of relief.” (Doc. 4 at 2–3). The Court has reviewed the hearing officer’s 
ruling.1 The Court has not had the benefit of full briefing on the full record and does 
not prejudge those issues at this point in the case. But, at this juncture, the Court 

does not believe the Board’s arguments about that ruling are substantially likely to 
succeed.                                                                  

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1 In the complaint, the Board noted the underlying proceeding’s case number. And both parties 
either linked to or provided the hearing officer’s decision and final order. (Doc. 1 at 5; Doc. 6-1). 
   Irreparable injury: It would not irreparably injure the Board to allow the 
hearing officer’s decision to go into effect, but it would irreparably injure S.S. to 

stay that decision. The Board’s only meaningful argument for irreparable injury is 
that complying with the hearing officers’ ruling would moot its appeal. But the 
Board is wrong. The Board relies on Jefferson County Board of Education v. Bryan 

M., noting that “when a party fully complies with an order under review, that 
compliance generally moots any appeal from that order—at least where the ‘order 
was not a continuing injunction’ and ‘merely required [that party] to perform discrete 
acts.’” 706 F. App’x 510, 513 (11th Cir. 2017) (quoting Newman v. Alabama, 683 

F.2d 1312, 1317 (11th Cir. 1982)). That is obviously a correct principle of law, but 
it has no application here. In Jefferson County, the board was trying to avoid training 
its personnel. When the board decided to train its personnel and develop a new IEP, 

the Eleventh Circuit affirmed the district court’s holding that the appeal was moot 
because the personnel could not be untrained and the IEP could not be undeveloped. 
Jefferson  Cty,  706  F.  App’x  at  513.  The  Eleventh  Circuit,  however,  noted  an 
exception: orders that are continuing injunctions rather than requiring a discrete act. 

The  hearing  officer’s  order  falls  squarely  into  this  category;  it  requires 
reimbursement  for  mileage,  a  BIP  and  a  BCBA,  and  a  behavioral  aide  and  a 
counselor. The Board has not shown that compliance with the hearing officer’s 

findings in this regard would moot its appeal.                            
   S.S.,  however,  will  be  irreparably  injured  if  the  Board  does  not  comply 
pending appeal. A state hearing officer has held that S.S. has the federal right to 

certain services under the IDEA. Everyone agrees the child is severely disabled. 
Each day that goes by without S.S. having access to those services cannot be 
remedied.                                                                 

   Balance of the equities: The threatened injury to the S.S. outweighs any 
potential damage to the Board. As stated in the hearing officer’s Final Order, the 
child has significant challenges including autism, pica, cerebral palsy, and Chiari 
malformation.  (Doc.  6-1  at  9).  “He  has  severe  behaviors  including  attacking 

individuals, biting them, pulling individual’s shirts and hair, walking in repetitive 
circles, grabbing fibers off the carpet and putting them in his mouth.” (Doc. 6-1 at 
9). In fact, according to the hearing officer, it appears that the child has regressed 

without proper intervention. (Doc. 6-1 at 15). The Board, on the other hand, has 
failed to show how it would be harmed by allowing the hearing officer’s order to go 
into effect, beyond possibly mooting this appeal.                         
   Public interest: A ruling in favor of the Board would undermine the public 

interest. “The IDEA represents an ambitious national undertaking to promote the 
education of children with disabilities.” Durbrow v. Cobb Cty. Sch. Dist., 887 F.3d 
1182, 1189 (11th Cir. 2018). The Act offers the States federal funds in exchange for 

a commitment to provide all “children with disabilities” individually tailored special 
education,  also  known  as  a  “free  appropriate  public  education.”  20  U.S.C.  §§ 
1400(d)(1)(A), 1412(a)(1)(A). “Integral to the concept of an ‘appropriate’ education 

is the notion that the services provided must be tailored to serve the individual needs 
of the child.” Weiss v. School Board of Hillsborough County, 141 F.3d 990 (11th 
Cir. 1998). The public has an interest in having the services it funds provided in an 

expeditious manner, especially when the state’s appointed hearing officer has agreed 
with the parents that the Board should do so.                             
                        CONCLUSION                                      
   For the foregoing reasons, the Board’s motion to reconsider (Doc. 18) is 

DENIED. Because that motion is denied, S.S.’s motion to strike is DENIED AS 
MOOT (Doc. 21).                                                           
   DONE and ORDERED this 19th day of December 2019.                     


                                        /s/ Andrew L. Brasher                  
                            ANDREW L. BRASHER                           
                            UNITED STATES DISTRICT JUDGE                